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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



NATIONAL ATM COUNCIL, INC., et al.,

              Plaintiffs,                       Civil Action No. 1:11-Cv-01803-RJL
                                                Assign Date: 8/4/2015
v.                                              Description: Antitrust – Class Action

VISA INC., et al.,

               Defendants.


ANDREW MACKMIN, et al.,

              Plaintiffs,                       Civil Action No. 1:11-Cv-1831-RJL
v.                                              Assign Date: 8/4/2015
                                                Description: Antitrust – Class Action
VISA INC., et al.,

              Defendants.


PETER BURKE,

              Plaintiff,                        Civil Action No. 1:11-Cv-1882-RJL
                                                Assign Date: 8/4/2015
v.                                              Description: Antitrust – Class Action

VISA INC., et al.,

               Defendants.



                                JOINT STATUS REPORT
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        On April 28, 2020 the Court ordered that “Plaintiffs and Defendants shall update the Court

via a status report regarding their views on when and how to reinstate a revised class certification

schedule, or, alternatively, whether to continue to review the news and provide the Court with

another status report on May 19, 2020. The Joint Stipulation and Order temporarily adjourning all

class certification deadlines entered March 20, 2020, shall remain in effect.” The parties have met

and conferred in accordance with that Order and provide the following status report.

        The parties agree that defendants will provide dates for their two expert witnesses to sit for

in-person oral depositions between July 13 and August 7, providing a minimum of seven days

between each witness, and the parties will meet and confer in good faith to finalize agreeable dates,

including so that the witnesses are deposed in the order requested by the noticing parties. The

parties further agree that plaintiffs shall file their class certification reply briefs no later than 30

days after completion of the latter of the two depositions, except that if this date falls on a weekend

or a court holiday, the reply briefs will be due on the next business day.

        Although defendants have agreed to provide dates for these depositions, they also have

made clear that their witnesses will not travel or sit for in-person depositions if doing so would be

inconsistent with public health or governmental guidelines relating to the coronavirus pandemic.

That is the situation as of the date of this status report.

        Accordingly, the parties also agree that defendants may notify plaintiffs two weeks in

advance of the scheduled depositions if defendants believe either of the in-person depositions

cannot proceed as scheduled, at which point the parties will promptly meet and confer in an effort

to reach agreement on next steps, and promptly report to the Court following that discussion.




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                                   Gardner d/b/a SJI; Turnkey ATM Solutions, LLC;
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